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                   IN THE UNITED STATES DISTRICT COURT
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                       FOR THE DISTRICT OF MONTANA                0
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                            MISSOULA DIVISION        CJe'*. (J. S S20fB
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UNITED STATES OF AMERICA,                        Cause No. CR 15-016-M-DLC
                                                           CV 16-129-M-DLC
               Plaintiff/Respondent,

      vs.                                     ORDER DENYING § 2255 MOTION
                                              AND DENYING CERTIFICATE OF
JACQUELINE DIANE ERGER,                             APPEALABILITY

               Defendant/Movant.


         On September 30, 2016, Defendant Erger moved to vacate, set aside, or

correct her sentence under 28 U.S.C. § 2255. Erger is a federal prisoner

proceeding pro se. She asks the Court to resentence her in light of Amendment

794 to the United States Sentencing Guidelines. See Mot. § 2255 (Doc. 160) at 5,

13-14.

         Amendment 794 broadened the range of circumstances supporting a

downward adjustment for a defendant who plays a minor or role in the offense.

See U.S.S.G. § 3Bl.2 Application Note 3 (Nov. 1, 2015). The amendment went

into effect on November 1, 2015. Erger was sentenced on May 25, 2016. Minutes

(Doc. 149). The Guidelines applied at her sentencing included Amendment 794.

Presentence Report if 69; U.S.S.G. § lB 1.11; see also, e.g., Presentence Report ifif

46, 51-52, 58, 62-64 (describing conduct supporting Erger's designation as an

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average participant).

       In addition, Erger was sentenced to the statutory mandatory minimum term

of 60 months. 21 U.S.C. § 841(b)(l)(B)(viii); Presentence Report~ 159. Even if

the offense level and guideline range had been lower, the sentence cannot be less

than it is.

       Erger is not entitled to relief. A certificate of appealability is denied as her

motion makes no showing that she was deprived of a constitutional right. 28

u.s.c. § 2253(c)(2).

       Accordingly, IT IS HEREBY ORDERED as follows:

        1. Erger' s motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (Doc. 160) is DENIED;

       2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal ifErger files a Notice of Appeal;

       3. The Clerk of Court shall ensure that all pending motions in this case and

in CV 16-129-M-DLC are terminated and shall close the civil file by entering

judgment in favor of the United States and against Erger.

       DATED this       ~~ day of October, 016.



                                         Dana L. Christensen, Chief Judge
                                         United States District Court
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